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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

PHOENIX DIVISION

CLINTON STRANGE,
Plaintiff

SP PROCESSING, LLC;

an Arizona Domestic Limited Liability Company
&

SUREN PRASAD,

individually as a Member of SP Processing, LLC
Defendants

CIVIL ACTION COMPLAINT
FOR VIOLATIONS OF:

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CV21-00101-PHX-SPL

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
THE FAIR DEBT COLLECTION PRACTICES ACT OF 1977

&

TORT DAMAGES UNDER LOUISIANA CIVIL CODE ARTICLE 2315

PURSUANT TO

THE LOUSIANA FAIR DEBT COLLECTION PRACTICES ACT OF 1972

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Jury Trial Demanded
PRELIMINARY STATEMENTS:

1. The Plaintiff CLINTON STRANGE, appearing pro se, represents to the Court that this is a
private enforcement action brought to recover damages against Defendants SP
PROCESSING, LLC, an Arizona Domestic Limited Liability Company (SP Processing); and
SUREN PRASAD individually as a Member of SP Processing, LLC (Prasad); herein and
collectively (Defendants) for alleged violations of Louisiana Tort Statutes, the Telephone
Consumer Protection Act of 1991 (“TCPA”), and the Fair Debt Collection Practices Act of
1977 (FDCPA) For sending autodialed debt collection text messages using an Automatic
Telephone Dialing System (“ATDS”).

2. The Plaintiff seeks a maximum award of damages and injunctive relief together along with
post judgement interest and all costs and fees associated with bringing and litigating the

action.

JURISDICTION & VENUE:

3. Jurisdiction arises in this U.S. District Court under a Federal Question as the TCPA and the
FDCPA are Federal Statutes pursuant to 28 U.S.C. § 1331.

4. Supplemental Jurisdiction would be properly applied relative to the Plaintiff's State Law
claims as the claims arise out of the same misconduct alleged that primarily arises under
Federal Questions pursuant to 28 U.S.C. § 1367.

5. Venue lies proper in this U.S. District because the Defendants can be found here by way of
ownership, transactional activity, litigation, or alternatively maintain a registered agent in this

U.S. District pursuant to 28 U.S.C. § 1391.

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THE PARTIES:
6. Plaintiff CLINTON STRANGE is an adult individual and a “person” as that term is defined

pursuant to 47 U.S.C. 153(39) residing at the address of:

CLINTON STRANGE
7021 WINBURN DRIVE
GREENWOOD, LA 71033
7, Defendant SP PROCESSING, LLC is an Arizona Domestic Limited Liability Company

principally headquartered and maintains a Statutory Agent listed as:

US DOC ASSIST LLC
c/o: SP PROCESSING, LLC
3507 NORTH CENTRAL AVENUE
SUITE 403
PHOENIX, AZ 85012
8. Defendant SUREN PRASAD is named individually as a Member of SP Processing, LLC.

According to documents obtained from the Arizona Corporations Commission and the
California Department of Insurance Division this Defendant resides in and can be found in or
around the following address:

SUREN PRASA

3227 REED WAY

HUY WARD, CA 94541
FACTUAL ALLEGATIONS:

The Historical Background Leading Up to the Current Action at Bar

9. Between the fall of 2019 until about March 2020 the Plaintiff was receiving unwanted
autodialed texts and calls from Direct Recovery Services, LLC regarding an alleged

consumer debt ($332.50) owed by Margaret Hough, who was apparently the prior wireless

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subscriber to the Plaintiff's cellphone number 318-780-8890. Plaintiff made a few demands
by voice (during some calls back to text message numbers and phone calls) asking Direct
Recovery Services, LLC to stop contacting the Plaintiff regarding Margaret Hough’s alleged
debt.

Plaintiff alleges that the down-line creditor (a Debt Buyer) Direct Recovery Services, LLC
bundled Junk consumer debt into a binder and sold said binder of Junk Debt to SP Processing
or an affiliated entity for pennies-on-the-dollar and that the Plaintiff's Do-Not-Call Demands
were not passed along with the sale of the alleged consumer debt obligation portfolio.)
Plaintiff represents that he does not know Margaret Hough. Plaintiff further represents that
although he owes debt derived from consumer products goods and services to some [other]

creditors that he does not owe [these] Defendants or creditors any money.

The Documented Autodialed Texts from SP Processing & Prasad

After Direct Recovery Services, LLC (DRS) received the Plaintiff's several Do-Not-Call
requests the Plaintiff alleges that (DRS) decided to abandon further attempts to collect the
alleged consumer debt; then the consumer debt obligation was bundled into a portfolio of
thousands of other consumer debt obligations and sold to Defendants on or around April 1,
2020 for pennies-on-the-dollar. Then after Defendants (named in this action) received the
debt purchase agreement documents stating that they “owned” the alleged consumer debts

they began to undertake steps to collect the debts in approximately May 2020.

 

1- Plaintiff believes that another creditor owned the debt previously and was placing autodialed
calls before SP Processing started texting him. They are being sued in Strange v. Direct
Recovery Services, LLC (D. Minn.).

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13. On May 5, 2020 at 3:10pm CST the Plaintiff received an autodialed text message on his
cellphone number 318-423-5057 from a long code number 412-356-8786 that was ported or
allocated across the Telnyx, LLC VoIP Telecommunications Network. The Plaintiff
represents that the below image labeled Figure A is a true and accurate representation of his
cellphone’s screen, herein (“screen-shot” or screen-capture”) in regard to the autodialed text

message referenced herein:

 

w
e

Have | reached Margaret Hough's phone?

  

Figure A

14. The Plaintiff represents that the Defendants’ autodialed text message deallocated and or
consumed at least 38 bytes of mobile data off his Verizon Wireless Monthly Mobile Data
Plan which was at the time low on available data [as depicted below in Figure B]; save that
Verizon Wireless decided to allocate additional data to consumers in good standing due to
Covid-19, the Plaintiff would have suffered greater harm due to the loss of the Mobile Data

usage deallocated by the Defendants’ autodialed text message from May 5, 2020 [See Figure

Cl.

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Message Info

From 4123568786
Received 5/5/20 3:10 PM
Type Text message

Size 38 bytes

Sent To

 

 

Me . | Verizon Msg: To help at this

Mobile: 3187808890 | time we have added 15GB of
- | data to your plan at NO
a | CHARGE for use through 5/31.
E | No action needed. Visit
ie m.vzw.com/m/covid19FAQs

VIEW DETAILS . .
¥

 

Figure B Figure C

15. On May 22, 2020 at 1:26pm CST the Defendants transmitted their second documented
autodialed text message to the Plaintiff’s cellphone number 318-780-8890 from a long code
number appearing on the Plaintiffs Caller ID as 318-474-8052 that was ported to or
allocated across the Telnyx VoIP Network. The Plaintiff represents that the below image
labeled as Figure D is a true and accurate representation of the Plaintiff's cellphone’s screen

in regard to the autodialed text message referenced herein.

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Hi Margaret Hough there is something | would like to
discuss with you will you please call me?

 

   

Figure D

16. The Plaintiff represents that the Defendants’ autodialed text message was a generic pre-
written template message sent to thousands (if-not-tens-of thousands) of consumers across
the nation (however the Defendants’ technology inserts debtor’s name).

17. Plaintiff further represents that the Defendants have no commercial footprint within North
Louisiana (where the above alleged autodialed text appeared to have originated from). They
are also not licensed (registered) in Louisiana to collect debts.

18. The Defendants’ text message also did not include a Mini — Miranda warning stating ‘in
effect’ substantially “ This is an attempt to collect a debt....etc.”

19. Plaintiff represents that the May 22, 2020 text message consumed or deallocated at least 94
bytes of Mobile Data off Plaintiff's Verizon Wireless Mobile Data Plan; also it consumed at

least that much valuable disk space on Plaintiffs LG Phone’s memory chip as depicted in the

below images labeled Figures E and F.

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Message Info Message info

Received 5/22/20 1:26 PM

From 3184748052
Type Text message

Received 5/22/20 1:26 PM Size 94 bytes

Type Text message Msgld 0d1788415eb0d28cecd92d63624
Size 94 byt 1b25c9_1590171983015_vmaco
ize 94 bytes csoak:2355252765024

Xid vmacocsoak:2355252765024
Sent To
Thread Id 25
Me Native Thread Id 24
Mobile: 3187808890
“ ‘ Msg DB Id 67
Native Id 64

Date Fri Mav 22 13:26:23 CDT 2020

 

Figure E Figure F

20. On June 18, 2020 at 9:08 am CST the Defendants’ Autodialer Platform Technology
transmitted 2 Autodialed text messages to the Plaintiffs cellphone number 318-780-8890
from a long code number appearing on the Plaintiffs cellphone’s Caller ID as 310-359-0235
that transmitted the exact same pre-written template text message sent about 2 minutes apart.
The Plaintiff represents that the below image labeled Figure G is a true and accurate
representation of his cellphone’s screen in regard to the autodialed text messages referenced
herein. Plaintiff represents to the Court that the transmission of the two duplicate messages

sent 2 minutes apart proves that the messages were sent via an ATDS?

 

2- Still pending is the decision of the Supreme Court in Facebook, Inc. v. Duguid, No. 19-511, wherein
the court granted certiorari to resolve, "Whether the definition of ATDS in the TCPA encompasses any
device that can ‘store' and ‘automatically dial' telephone numbers, even if the device does not ‘us[e] a
random or sequential number generator.” See Palmer y. KCI USA, Inc. No. 4:19-CV-3084-MDN (Maj.
Judge Nelson, M.) (D. Neb.) (Nov. 3, 2020).

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Margaret Hough would it be possible for you to call me
when you can need to talk with you?

Margaret Hough would it be possible for you to call me
when you can need to talk with you?

 

   

Figure G

21. The Plaintiff represents that the Defendants’ (two above) autodialed text messages
deallocated and or consumed in aggregate over 180 bytes of disk space on his cellphone and

consumed and or deallocated 180 bytes of mobile data off his Verizon Wireless Plan.

Le
Message Info Message Info
From 3103590235 From 3103590235

Received 6/18/20 9:08 AM Received 6/18/20 9:10 AM

Type Text message Type Text message

Size 90 bytes Size 90 bytes

Sent To Sent To

Me

Mobile: 3187808890

Me
Mobile: 3187808890

 

SHOW DETAGLS CLOSE

 

Figure H Figure I

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22. On July 24, 2020 at 7:32pm CST as shown in below Figure J Defendants sent Plaintiff
another autodialed text message on his cellphone number 318-780-8890 this time being
sneaky and acting like they were UPS (United Parcel Service or U.S.P.S. (United States
Postal Service). This constitutes an Unfair Trade Practice under many State Laws, and also in
an Unfair Debt Collection Practice and or technique. Plaintiff is not alone in his victimization

of this specific misconduct as he represents that Defendants are facing similar allegations in

another case.?

 

 

Hello Margaret Hough this is SPS reaching out about a
package we have to deliver, is this the right phone number?

 

   

Figure J

 

3- Defendant is alleged to have been pretending to “have a package” for a consumer debtor in
Massachusetts claiming to be SPS trying to trick the debtor into calling Defendants. See
Ostroff v. SP Processing, LLC et al., No. 4:20-cv-40139-TSH DE *1 (D. Mass.) (Nov. 11,
2020).

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23. The Plaintiff represents that the Defendants autodialed debt collection text message sent on
July 24, 2020 deallocated and or consumed in aggregate over 113 bytes of disk space on his
cellphone and consumed and or deallocated 113 bytes of mobile data off his Verizon

Wireless Plan as represented in the below figure K.

Message info

From 3022913437
Received 7/24/20 7:32 PM
Type Text message

Size 113 bytes
Sent To

Me
Mobile: 3187808890

 

Figure K
24. On July 31, 2020 at 11:15am CST the Defendants’ ATDS transmitted the last of their

annoying and intrusive debt collection robotexts to the Plaintiffs cellphone number 3 18-780-
8890 from Franklin County, Washington (based on the area code used). The long code
number appearing in the Caller ID (of the text message screen) was 509-416-0114 as
depicted below in Figure L. Figure M below is representative of a reverse area code and

exchange (phone number) search engine called area-codes.com.

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Hello Margaret Hough this is SPS reaching out about a
package we have to deliver, is this the right phone number?

    
  

Figure L

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change/exchange.asp?npa ~— 4)

 

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AreaCode/Prefix (Exchange) 509-416

AreaCode/Prefix 509-416 Details

NPA Area Code: HXX Use Type: LANDLINE

 

   

   

NXX Prefix: HX [ntre Version
City: New NPA:

State: Latitude:

County: Longitude:
Sounty Poptathow LATA:

ZUP Cave: Gverlay:

Zi Code Pop: Rate Center.

ZiP Code Freq: a OCN:

Time Zone: Peacitic (GMT X18 0a) FIPS:

 

Observes OST: COSA Code:
COSA Rame:

Frotie Status:

 

Carrer Company:

Figure M

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25. Plaintiff represents that Defendants’ July 31, 2020 autodialed text message also took up 113
bytes of mobile data and disk space (as depicted in below Figure N) as did the July 24, 2020
text message because they were exactly the same pre-written template of texts (with
Margaret Hough inserted by the Defendants’ technology platform) which further shows that

an ATDS platform was being used to send the annoying text messages.

Message Info

From 3094160114
Received 7/31/20 11:15 AM
Type Text message

Size 113 bytes

Sent To

od

Mobile: 3187808890

 

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The Plaintiff's Efforts to Mitigate Damages and Harm

Plaintiffs cellphone number 318-780-8890 was registered on April 4, 2019 (within hours of
activating the Verizon account) on both the Federal Trade Commission’s Do-Not-Call list
and the Louisiana Public Service Commission’s Do Not Call Program Registry.

Plaintiff repeatedly called the numbers (in the text message Long-Code Caller ID) and asked

not to be called and stated that he was not Margaret Hough.

Principal Liability

Us Doc Assist, LLC, according to the Arizona Secretary of State registry, is an active
Arizona Domestic LLC, upon information and belief, is the parent company of Defendant SP
Processing, LLC, and operating as the “registered agent” and manager for at least 40
different domestic Arizona companies, each of which lists its address c/o Us Doc Assist,
LLC, at 3507 N. Central Avenue, Suite 403, Phoenix, Arizona.

Defendant, Suren Prasad is the principal member of both corporate defendants and lists his
(assuming Male gender) address as 23227 Reed Way, Hayward, California. Upon
information and belief, Defendant Suren Prasad is the principal member of all the companies
under Us Doc Assist, LLC’s umbrella of related ventures.

Upon information and belief, Defendants’ principal business purpose is the collection of
debts, Defendants regularly engage in aggressive debt collection practices on a nationwide
basis in the recovery of alleged overdue consumer payment obligations alleged to be due to
another.

15 U.S.C. §1692 et seq. is the Federal Fair Debt Collection Practices Act of 1977.
Defendants are “Debt Collectors” as defined by 15 U.S.C. §1692a(6).

Defendants acted through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, representatives and insurers at all times

relevant to the instant action; all companies where Us Doc Assist, LLC is listed as the

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relevant to the instant action; all companies where Us Doc Assist, LLC is listed as the
registered agent for the company, are registered and licensed as having the exact same
physical address, including suite number, as Us Doc Assist, LLC.

Defendant Suren Prasad is the managing member of each of the Us Doc Assist, LLC entities,
including Defendants SP Processing, LLC and Us Doe Assist, LLC and upon information
and belief, formed each entity as an alter ego for himself.

Upon information and belief, Defendants’ actions are part of a scheme to hide their illegal
activities in their relentless pursuit in trying to collect a debt or to obtain personal
information about non-party Margaret Hough.

Defendants’ actions, regardless of intent, were abusive, harassing, deceptive, unfair,
misleading, harmful and inappropriate such that, Plaintiff has suffered concrete harm as a
result of Defendants’ actions including, but not limited to, undue stress, confusion and
aggravation.

Defendants’ abusive, harassing, misleading and deceptive conduct materially impacted and
shaped Plaintiff's reactions and course of conduct in response to Defendants’ collection
efforts.

Plaintiff has suffered actual financial loss, including expending costs and asscts in dealing
with Defendants’ conduct.

Plaintiff has further been unnecessarily confused and concerned given Defendants’ violations
of law, and have further suffered a violation of [h]is state and federally protected substantive
interests as a result of Defendants’ conduct.

Because of the connectivity of the Defendants and the overt scheme to shield each other from

any liability for the activities, the Defendants are joint and severally liable for all damages

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incurred by Plaintiff.

THE COUNTS

(As to ali Defendants):
COUNT I:

Collection Agency Act (Washington's counterpart to the FDCPA)
RCW 19.86.090

41. Plaintiff incorporates all the foregoing paragraphs as though the same were set forth at length
herein.

42. To prevail ona CPA claim, Plaintiff must establish the following elements: (1) unfair or
deceptive act or practice, (2) occurring in trade or commerce, (3) public interest impact, (4)
injury to plaintiff in his or her business or property, and (5) causation. Hangman Ridge
Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wn.2d 778, 784-85, 719 P.2d 531 (1986).
"When a violation of debt collection regulations occurs," including violations of the FDCPA
or the Collection Agency Act (Washington's "counterpart to the FDCPA"), such a violation
"constitutes a per se violation of the CPA ... under state... law." Panag v. Farmers Ins. Co.
of Wash., 166 Wn.2d 27, 53-54, 204 P.3d 885 (2009) (citing Jeter v. Credit Bureau, Inc., 760
F.2d 1168, 1174 (11th Cir. 1985) and Evergreen Collectors v. Holt, 60 Wn.App. 151, 155,
803 P.2d 10 (1991)),

43. The Ninth Circuit concluded that "[t]o the extent an FDCPA violation may serve as the basis
ofa per se CPA claim . . ., then an FDCPA violation per se satisfies" the first three elements
of the Hangman Ridge test, including "the ‘trade or commerce’ element, along with the
“unfair or deceptive' and ‘public interest’ elements, of the CPA." Memorandum Disposition

(docket no. 51 at 5 n.3). It further concluded that "[t]aking the well-plead factual allegations

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of the complaint as true, . . . the Defendants’ attempts to collect debts with false affidavits and
the necessary documentation to prove their claims plausibly alleged the use of ‘unfair or
unconscionable means to collect or attempt to collect any debt'" under 15 U.S.C. § 1692f.
Plaintiff plausibly alleges injury to his businesses or property. see RCW 19.86.090
(providing that "[a]ny person who is injured in his or her business or property by a violation
of [the CPA] .. . may bring a civil action").

Plaintiff seeks up to $1,000.00 in damages per violation against Defendants jointly and
severally because the last call (text) was misleading as defined by the FDCPA and an unfair
trade practice under Washington statutes, and because the call originated from Franklin

County, Washington.

COUNT II:
Fair Debt Collection Practices Act
15 U.S.C. §1692 et seq.

Plaintiff incorporates all the foregoing paragraphs as though the same were set forth at length
herein.

Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

Defendants are each a “debt collector” as defined by §1692a(6) of the FDCPA, because they
regularly use the mail and/or the telephone to collect, or attempt to collect, delinquent
accounts, including consumer accounts and regularly collect or attempt to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another.

Defendants, as part of their regular business, engage in the collection or attempt to collect,
directly or indirectly, defaulted debts owed or due or asserted to be owed or due to others,

and debt collection is a primary aspect of their business.

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The subject debt ($332.50) is a “debt” as defined by FDCPA §1692a(5) as it arises out of a
transaction due or asserted to be owed or due to another for personal, family, or household
purposes.

The process used by the Defendants in their relentless sending of deceptive text messages to
Plaintiff is a prohibited, harassing, false and misleading, deceptive and unfair practice in
violation of 15 U.S.C. §§ 1692b(1) and (3), 1692d(6), 1692e(10),(11) and (14), 1692(1) and
§1692¢.

As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to actual and
statutory damages pursuant to 15 U.S.C. § 1692k(a)(1), 2(A), and in amount to be
determined at trial by jury: and reasonable attorney’s fees (if any) and costs pursuant to 15

U.S.C. § 1692k(a)(3) from each Defendant.

COUNT II:
The Telephone Consumer Practices Act of 1991
47 U.S. Code § 227(b)

Plaintiff incorporates all the foregoing paragraphs as though the same were set forth at length
herein.

Plaintiff represents that each text message was sent using an ATDS.

Defendant transmitted (meaning placed or initiated without human contact intervention) a
total of six (6) text messages to the Plaintiff’s cellphone.

The Plaintiff seeks $500.00 to $1,500.00 in damages for each and every one of Defendants’
illegal debt collection campaign text messages at the discretion of the Court or alternatively

the trier of fact.

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COUNT IV:
TORT DAMAGES UNDER LOUISIANA CIVIL CODE ARTICLE 2315
PURSUANT TO THE LOUISIANA FAIR DEBT COLLECTION STATUTE

Plaintiff incorporates all the foregoing paragraphs as though the same were set forth at length
herein.

Defendants’ actions constituted an Unfair Trade Practice under Louisiana Law. The texts
were directed toward a 318-area code number which comprises the North % of the state of
Louisiana. Defendant availed themselves of the Laws of Louisiana when they directed their
misconduct into the State.

Defendants’ misconduct also violated the Louisiana Debt Collection Act at Louisiana Rev.
Stat. 9: §3562 in the “Unauthorized collection practices” section which states “ Except as
otherwise provided by law or this section, the creditor, including, but not limited to the
creditor in a consumer credit transaction, shall not contact any person other than an extender
of credit or credit reporting agency who is not living, residing, or present in the household of
the debtor regarding the debtor's obligation to pay a debt.”

Louisiana Rev. Stat. 9: §3562 (5) states “This section shall not limit a debtor's right to bring
an action for damages provided by Article 2315 of the Louisiana Civil Code.”, which gives
Plaintiff a private right of action to bring suit against the Defendants under Louisiana Civil
Code Article 2315.

Louisiana Civil Code Article 2315(A) simply states “Every act whatever of man that causes
damage to another obliges him by whose fault it happened to repair it.”

Under Louisiana statutes and civil codes tort damages are assessed by the judge or jury.
While Plaintiff asserts that $6,000.00 would be an appropriate remedy; Louisiana’s Civil

Code section regarding claims like this one are addressed at Louisiana Civil Code 2324.1

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which states “In the assessment of damages in cases of offenses, quasi offenses, and quasi

contracts, much discretion must be left to the judge or jury.”

PRAYER FOR RELIEF:

Wherefore, the Plaintiff seeks judgment in Plaintiffs favor and damages against the Defendants

in the form of the following requested relief:

Statutory Damages;

Actual Damages;

Stacked Damages;

Treble Damages;

Enjoinder from future violations;

Pre and or Post Judgment Interest on Judgment;
Costs and fees (including attorney’s fees if any);

And such other and further relief the Court deems necessary, just and proper.

Respectfully Submitted,

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x Ble AY [“1¥-20a]
Clinton Strange 27 Dated

Pro Se

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(318) 780-8890

StrangeC982@gmail.com

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